Case 1:13-cv-00817-RA Document 24 Filed 06/13/13 Page 1 of 2

UNIONS &.

Case 1:13-cv-00817-RA Document 23 Filed 06/12/13 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

DAVID YOUNG, Individually And
On Behalf of All Others Similar Situated,

Plaintiff,

Vs

JAN-MICHIEL HESSELS, MARSHALL CARTER,
DUNCAN NIEDERAUER, DOMINIQUE
CERUTTI, ANDRE BERGEN, ELLYN BROWN,
PATRICIA CLOHERTY, SIR GEORGE COX,
SYLVAIN HEFES, DUNCAN MCFARLAND,
JAMES MCNULTY, LUIS PALHA DA SILVA,
ROBERT SCOTT, JACKSON TAI, RJNHARD
VAN TETS, SIR BRIAN WILLIAMSON, NYSE
EURONEXT, INTERCONTINENTALEXCHANGE,
INC., and BASEBALL MERGER SUB, LLC,

Defendants.

 

 

USDC-SDNY
DOCUMENT

' . . .
ELECTRONICALLY FILED
DOC #:

ie a nen: (2a

13 CV 817 (RA)

ECF

NOTICE AND [RB@ROSED] ORDER OF VOLUNTARY DISMISSAL

PLEASE TAKE NOTICE that, pursuant to Rules 23(e) and 41(a)(1)(A)(i) of the Federal

Rules of Civil Procedure, plaintiff David Young hereby dismisses the above-captioned case

(“Action”). The Court has not certified this Action, or any claims alleged therein, as a class

action. Defendants have filed neither an answer, a motion to dismiss, nor a motion for summary

judgment. This dismissal is without prejudice to the claims of any member of the putative Class.

Plaintiff has not entered into any agreement to settle the action with one or more of the

Defendants and Plaintiff represents that no compensation in any form has been passed directly or
—Gase-£:143-cv-00817-RA Document 24 Filed 06/13/13 Page 2 of 2

Case 1:13-cv-00817-RA Document 23 Filed 06/12/13 Page 2 of 2

indirectly from any Defendants to Plaintiff or Plaintiff's counsel, and no promise to give any

such compensation has been made. Therefore, notice to the putative class is not necessary.

Dated: June 12, 2013 LEVI & KORSINSKY LLP

By:

 

Joseph E, Levi, Esq.

Shannon L. Hopkins, Esq.
Julia J. Sun, Esq.

30 Broad Street, 24th Floor
New York, New York 10004
Telephone: (212) 363-7500

Attorneys for Plaintiff

(3 say of
SO ORDERED this day of _/ / , 2013 =

DISTRICT JUDGE BO

 

 

 
